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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              PINE BLUFF DIVISION

CHARLES E. HAMNER, ADC #143063                                            PLAINTIFF

v.                           NO. 5:17CV00079 JLH/BD

DANNY BURLS, et al.                                                    DEFENDANTS


                  RESPONSE TO PLAINTIFF’S MOTION TO AMEND

         Come the Defendants, Danny Burl, Connie Jenkins, Maurice Williams, Steve

Outlaw, and Marvin Evans, (hereinafter referred to collectively as the “ADC

Defendants”), and for their Response to Plaintiff’s Motion to Amend Complaint,

state:

         1.      On January 9, 2018, the Honorable Magistrate Judge entered a

Recommended Disposition (DE 32) wherein it was recommended that Plaintiff’s

Complaint be dismissed based upon Plaintiff’s failure to exhaust his administrative

remedies.

         2.      Plaintiff now moves the Court for leave to amend his complaint so that

he may “fix whatever the Court thinks is wrong with it.”

         3.      ADC Defendants assert that Plaintiff cannot remedy his failure to

exhaust his administrative remedies by amending the Complaint in this action, and

consequently, request this Court deny his Motion to Amend.

         WHEREFORE, ADC Defendants request this Court deny Plaintiff’s Motion

to Amend and enter an order dismissing all claims against the ADC Defendants in




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accordance with the Recommended Disposition (DE 32), and for all other just and

proper relief to which they may be entitled.


                                               Respectfully submitted,

                                               Leslie Rutledge
                                               Attorney General

                                       By:     /s/ William C. Bird III
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                                               Attorneys for Separate Defendants




                          CERTIFICATE OF SERVICE

      I, William C. Bird, Assistant Attorney General, do hereby certify that on
January 29, 2018, I electronically filed the forgoing with the Clerk of the Court
using the CM/ECF system.

     I, William C. Bird, hereby certify that on January 29, 2018, I mailed this
document by U.S. Postal Service to the following non CM/ECF participant:

      Mr. Charles Hamner, ADC #143063
      Varner Supermax
      Arkansas Department of Correction
      P.O. Box 400
      Grady, Arkansas 71644-0600

                                                     /s/ William C. Bird III
                                                     William C. Bird III




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